     Case 3:18-cv-00840-GPC-BGS Document 330 Filed 11/04/20 PageID.8043 Page 1 of 2



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 8                             UNITED STATES DISTRICT COURT
 9                           SOUTHERN DISTRICT OF CALIFORNIA
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11     IN RE OUTLAW LABORATORY LP                       Case No.: 18cv840 GPC (BGS)
       LITIGATION
12
                                                        ORDER ON OUTLAW’S EX PARTE
13                                                      MOTION
14
                                                        [ECF 319]
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17          On October 29, 2020, Outlaw Laboratory, L.P., Michael Wear, and Shawn Lynch
18    (“Outlaw”) filed an ex parte motion seeking to stay all pretrial deadlines as to Outlaw
19    based on having settled the claims against it. (ECF 319.) Outlaw acknowledges there are
20    objections related to the settlement are pending, but asks that the pretrial deadlines be
21    stayed as to Outlaw until the objections to it are resolved to avoid the expense of
22    preparation for a trial it may not participate in. (Id.) Outlaw’s Motion indicates that the
23    Stores take no position on the motion, but it also indicates the Stores state that based on
24    the settlement they will not be pursuing any claims against Outlaw at trial based on the
25    pending settlement. (Id. at 5.) Tauler Smith filed an Opposition to the Motion on
26    November 2, 2020 that challenges the granting of a stay of deadlines that have already
27    passed and notes it had requested the other parties agree to request and extension of the
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     Case 3:18-cv-00840-GPC-BGS Document 330 Filed 11/04/20 PageID.8044 Page 2 of 2



 1    deadlines and pretrial conference until after the court ruled on Tauler Smith’s motion for
 2    reconsideration of the court’s ruling on their motion for summary judgment.
 3          Having considered the Motion and Opposition, the status of the case as a whole,
 4    including matters pending before the undersigned and district judge, the Court
 5    CONTINUES the November 6, 2020 Pretrial Conference to January 22, 2021 at 1:30
 6    PM. The Court will issue a separate order at a later date resetting pretrial deadlines as to
 7    Outlaw if necessary.
 8          IT IS SO ORDERED.
 9    Dated: November 3, 2020
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